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 1    Harold Malkin, WSBA No. 30986             THE HONORABLE ROSANNA
      Barbara J. Duffy, WSBA No. 18885          MALOUF PETERSON
 2    LANE POWELL PC
      1420 Fifth Avenue, Suite 4200
 3    P.O. Box 91302
      Seattle, WA 98111-9402
 4    Ph: (206) 223-7000
      Fax: (206) 223-7107
 5                                              Michael J. Bronson (Pro Hac Vice)
      Maryann P. Surrick (Pro Hac Vice)         Patrick M. Hagan (Pro Hac Vice)
 6    LOCKHEED MARTIN CORP.                     Laurie A. Witek (Pro Hac Vice)
      6801 Rockledge Drive, MP 203              Michael J. Ferrara (Pro Hac Vice)
 7    Bethesda, MD 20817                        DINSMORE & SHOHL LLP
      Ph: (301) 897-6988                        255 East Fifth Street, Suite 1900
 8                                              Cincinnati, OH 45202
                                                Ph: (513) 977-8200
 9                                              Fax: (513) 977-8141
10    Attorneys for Defendants Lockheed
      Martin Services, Inc., and Lockheed
11    Martin Corporation
12                      UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF WASHINGTON
13                              AT RICHLAND
14    UNITED STATES OF AMERICA,              )
                                             )
15    Plaintiff,                             )
                                             )
16    v.                                     )
                                             )No. 4:19-cv-05021
17    MISSION SUPPORT ALLIANCE,              )
      LLC, LOCKHEED MARTIN                   )LOCKHEED MARTIN
18    SERVICES, INC., LOCKHEED               )CORPORATION’S AND
      MARTIN CORPORATION,                    )LOCKHEED MARTIN SERVICES,
19                                           )INC.’S MOTION TO DISMISS
      and                                    )
20                                           )10/03/2019 @ 10:00 am
      JORGE FRANCISCO “FRANK”                )Oral Argument Requested
21    ARMIJO,                                )
                                             )
22    Defendants.                            )
                                             )
23
                                                                      LANE POWELL PC
                                                               1420 FIFTH AVENUE, SUITE 4200
      MOTION TO DISMISS - i                                             P.O. BOX 91302
                                                                  SEATTLE, WA 98111-9402
                                                                206.223.7000 FAX: 206.223.7107
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 1          Pursuant to Rules 8, 9, and 12(b)(6) of the Federal Rules of Civil

 2    Procedure, Defendants Lockheed Martin Corporation and Lockheed Martin

 3    Services, Inc. move to dismiss the United States of America’s claims under the

 4    False Claims Act (Counts I and II) and Anti-Kickback-Act (Count III) in the

 5    United States’ Complaint. The accompanying Memorandum sets forth support

 6    for this motion.

 7          Dated: April 23, 2019

 8                                         Respectfully submitted,

 9
                                           LANE POWELL PC
10
                                           By      s/Harold Malkin
11                                         Harold Malkin, WSBA No. 30986
                                           1420 Fifth Avenue, Suite 4200
12                                         P.O. Box 91302
                                           Seattle, WA 98111-9402
13                                         Email: malkinh@lanepowell.com
                                           Telephone: 206.223.7000
14
                                           Facsimile: 206.223.7107
15
                                           DINSMORE & SHOHL
16
                                           By     s/Michael J. Bronson
17                                         Michael J. Bronson, Admitted Pro Hac
18                                         Vice
                                           255 East Fifth Street, Suite 1900
19                                         Cincinnati, OH 45202
                                           Email: Michael.bronson@dinsmore.com
20                                         Telephone: 513.977.8654
21                                         Attorneys for Defendants Lockheed
22                                         Martin Services, Inc., and Lockheed
                                           Martin Corporation
23
                                                                     LANE POWELL PC
                                                              1420 FIFTH AVENUE, SUITE 4200
      MOTION TO DISMISS - ii                                           P.O. BOX 91302
                                                                 SEATTLE, WA 98111-9402
                                                               206.223.7000 FAX: 206.223.7107
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23
                                                                                          LANE POWELL PC
                                                                                   1420 FIFTH AVENUE, SUITE 4200
      MOTION TO DISMISS - iii                                                               P.O. BOX 91302
                                                                                      SEATTLE, WA 98111-9402
                                                                                    206.223.7000 FAX: 206.223.7107
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23
                                                                                          LANE POWELL PC
                                                                                   1420 FIFTH AVENUE, SUITE 4200
      MOTION TO DISMISS - iv                                                                P.O. BOX 91302
                                                                                      SEATTLE, WA 98111-9402
                                                                                    206.223.7000 FAX: 206.223.7107
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                                                                                             LANE POWELL PC
                                                                                      1420 FIFTH AVENUE, SUITE 4200
      MOTION TO DISMISS - v                                                                    P.O. BOX 91302
                                                                                         SEATTLE, WA 98111-9402
                                                                                       206.223.7000 FAX: 206.223.7107
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                                                                                           LANE POWELL PC
                                                                                    1420 FIFTH AVENUE, SUITE 4200
      MOTION TO DISMISS - vi                                                                 P.O. BOX 91302
                                                                                       SEATTLE, WA 98111-9402
                                                                                     206.223.7000 FAX: 206.223.7107
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                                                                                              LANE POWELL PC
                                                                                       1420 FIFTH AVENUE, SUITE 4200
      MOTION TO DISMISS - vii                                                                   P.O. BOX 91302
                                                                                          SEATTLE, WA 98111-9402
                                                                                        206.223.7000 FAX: 206.223.7107
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                                                                                              LANE POWELL PC
                                                                                       1420 FIFTH AVENUE, SUITE 4200
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                                                                                          SEATTLE, WA 98111-9402
                                                                                        206.223.7000 FAX: 206.223.7107
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                                                                                               LANE POWELL PC
                                                                                        1420 FIFTH AVENUE, SUITE 4200
      MOTION TO DISMISS - ix                                                                     P.O. BOX 91302
                                                                                           SEATTLE, WA 98111-9402
                                                                                         206.223.7000 FAX: 206.223.7107
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 1   I. PRELIMINARY STATEMENT

 2         The Court must dismiss the government’s contrived Anti-Kickback Act

 3   (“AKA”) claim and vague theories of False Claims Act (“FCA”) liability because

 4   they are inadequately pled and contrary to precedent, statutory intent, and public

 5   policy. This case arises from contracts at the Department of Energy (“DOE”)

 6   Hanford facility between Mission Support Alliance (MSA)—a joint venture in

 7   which Lockheed Martin Corporation (“LMC”) held an interest—and Lockheed

 8   Martin Services, Inc. (“LMSI”), the longstanding information technology (“IT”)

 9   provider at Hanford. In 2009, DOE competitively awarded a newly-created prime

10   contract to MSA, knowing that MSA’s proposal included an LMSI subcontract for

11   the continued provision of IT services. When DOE later consented to the LMSI

12   subcontract, it was well-aware that MSA and LMSI shared LMC as a common

13   parent and that LMC had “seconded” several employees to MSA to help run the

14   joint venture. It also knew that LMSI proposed commercial fixed prices and fixed

15   rates, which always carry the possibility of profit. The government nevertheless

16   now contends that Defendants committed fraud because LMSI profited and

17   attempts to paint the standard compensation LMC paid to its seconded employees

18   as kickbacks.

19         The government’s AKA claim is not legally sustainable. It misconstrues the

20   text and purpose of the AKA and ignores controlling Supreme Court

21   precedent. According to the government, LMC paid kickbacks to seconded

22   employees when it compensated them under its customary, publicly available,

23   performance-based compensation plan. But Congress’s intent in enacting the AKA
                                                                     LANE POWELL PC
                                                              1420 FIFTH AVENUE, SUITE 4200
     MOTION TO DISMISS - 1                                             P.O. BOX 91302
                                                                 SEATTLE, WA 98111-9402
                                                               206.223.7000 FAX: 206.223.7107
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 1   was to prohibit “commercial bribes” exchanged between two independent and

 2   unaffiliated actors, not compensation paid by a company to its employees. The

 3   Supreme Court echoed this Congressional intent in Skilling v. United States,

 4   holding that corporate incentive compensation is not a kickback or bribe because it

 5   does not involve a transaction with a third party.              561 U.S. 358, 413

 6   (2010). Additionally, the intra-corporate conspiracy doctrine, which legally

 7   precludes a conspiracy among affiliates or their employees, and the rule of lenity,

 8   which requires that the public receive fair warning that conduct is illegal, also

 9   compel dismissal of the government’s AKA count. Finally, even if a company

10   could pay a kickback to its own employees, the government fails to plead facts that

11   establish a plausible or particular AKA claim.

12         The government’s FCA claims are post hoc, outcome-driven, and have not

13   been pled with the particularity required by Fed. R. Civ. P. 9(b). The FCA

14   allegations center on whether and to what extent LMSI was entitled to earn

15   profit. The government concedes that LMSI and MSA repeatedly identified a valid

16   contractual and regulatory basis supporting LMSI’s ability to earn profit. Compl.,

17   ECF No. 1, ¶¶ 64, 75. This concession precludes any straightforward pricing

18   claim, and the government does not allege that DOE or anyone else had a problem

19   with the quality of LMSI’s services. Instead, ten years after the prime contract

20   award, the government makes a hodgepodge of disjointed and confusing FCA

21   allegations unified only by the assertion that LMSI made too much profit. As

22   MSA’s motion to dismiss explains, the government fails to plead the required

23   elements of scienter and materiality for any of its FCA claims. For efficiency, this
                                                                      LANE POWELL PC
                                                               1420 FIFTH AVENUE, SUITE 4200
     MOTION TO DISMISS - 2                                              P.O. BOX 91302
                                                                  SEATTLE, WA 98111-9402
                                                                206.223.7000 FAX: 206.223.7107
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 1   motion focuses on two of the government’s FCA theories—(1) that LMSI made

 2   misrepresentations about an unspecified number of unspecified services and

 3   materials, and (2) that LMSI’s price inflation on some unspecified tasks led to

 4   unspecified false statements by unnamed people at unidentified times. Both of

 5   these theories fall far short of the Fed. R. Civ. P. 9(b) pleading standard.

 6   II. FACTUAL BACKGROUND

 7         A.     Background on the Relevant Contracts and the Relationships

 8                Among Defendants.

 9         In May 2007, DOE issued a Request for Proposals (“RFP”) for a Hanford

10   infrastructure support services prime contract known as the Mission Support

11   Contract (“MSC”). Compl. ¶ 35. LMC formed MSA to compete for the MSC, id.

12   ¶ 40, and throughout the relevant period, LMC was one of three MSA members.

13   Id. ¶ 8.   As part of its proposal, MSA identified LMSI as the subcontractor

14   responsible for the IT, or Information Resources/Content Management (“IR/CM”),

15   scope of work. Id. ¶ 43. DOE awarded the MSC to MSA in April 2009. Id. ¶ 48.

16         The government affirmatively describes LMC, LMSI, and MSA as affiliates,

17   id. ¶¶ 42, 117, 124, and notes that DOE was aware of and focused on these

18   affiliations throughout the relevant period, id. ¶¶ 39, 64, 83. This alleged affiliate

19   relationship is essential to the government’s position that LMSI was not permitted

20   to profit; at the same time, it makes the kickbacks the government alleges a legal

21   impossibility.

22         Both DOE’s RFP and Clause B.11 of the MSC specifically exempt

23   commercial items and services from a prohibition on “subcontractor fee” for prime
                                                                        LANE POWELL PC
                                                                 1420 FIFTH AVENUE, SUITE 4200
     MOTION TO DISMISS - 3                                                P.O. BOX 91302
                                                                    SEATTLE, WA 98111-9402
                                                                  206.223.7000 FAX: 206.223.7107
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 1   contractor affiliates. Id. ¶ 37 (citing Clause B.11).1 The Complaint acknowledges

 2   that MSA and LMSI repeatedly identified the LMSI subcontract as commercial

 3   and pointed to commerciality as an applicable exception in Clause B.11.2 See, e.g.,

 4   id. ¶¶ 37, 64, 75. It also acknowledges that MSA and LMSI cited to LMSI’s

 5   General Services Administration (“GSA”) Schedule 3 and LMSI’s work for

 6
 7   1
         Although neither the Complaint nor Clause B.11 defines “affiliate,” the Federal
 8   Acquisition Regulation (“FAR”) states that an “affiliate” includes any “associated
 9   business concerns or individuals if, directly or indirectly (1) [e]ither one controls or
10   can control the other; or (2) [a] third party controls or can control both.” 48 C.F.R.
11   § 2.1.
12   2
         Clause B.11 incorporated the FAR’s definitions of commercial items and
13   services. Id. ¶ 37. Generally, a commercial item is an item “of a type customarily
14   used by the general public or by non-governmental entities for purposes other than
15   governmental purposes” that has been (1) “sold, leased, or licensed to the general
16   public,” or (2) “offered for sale, lease, or license to the general public.” 48 C.F.R.
17   § 2.1. Commercial services are those “of a type offered and sold competitively in
18   substantial quantities in the commercial marketplace based on established catalog
19   or market prices for specific tasks performed or specific outcomes to be achieved
20   and under standard commercial terms and conditions.” Id.
21   3
         The GSA Schedule program “provides federal agencies with a simplified process
22   for obtaining commonly used commercial supplies and services.” MSC Indus.
23   Direct Co. v. United States, 126 Fed. Cl. 525, 528 (2016); see also CGI Fed., Inc.
                                                                        LANE POWELL PC
                                                                 1420 FIFTH AVENUE, SUITE 4200
     MOTION TO DISMISS - 4                                                P.O. BOX 91302
                                                                    SEATTLE, WA 98111-9402
                                                                  206.223.7000 FAX: 206.223.7107
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 1   commercial (i.e., non-government) customers as evidence that LMSI’s services

 2   were commercial. See, e.g., id. ¶ 111.

 3         After the MSC award, MSA, LMSI, and DOE negotiated the terms of the

 4   IR/CM subcontract for approximately 18 months. See generally id. ¶¶ 52-113.

 5   DOE conditionally consented to the subcontract in February 2011. Id. ¶ 114. The

 6   final subcontract included three types of pricing: (1) fixed prices, which the

 7   government describes as “an agreed upon total price that is not subject to any

 8   adjustment based on the contractor’s costs incurred while performing the contract”;

 9   (2) fixed unit rates, which the government describes as “a contract based on

10   estimated quantities of items and agreed upon unit rates, including labor rates”; and

11   (3) time and materials, which the government describes as “a contract used to

12   acquire goods or services on the basis of direct labor hours at a specified fixed

13   hourly rate with goods/materials priced at cost plus, potentially, material handling

14   costs.” Id. ¶¶ 26, 60. The possibility of profit is permissible—and inherent—with

15   each of these pricing approaches. See 48 C.F.R. § 16.202-1 (fixed pricing “places

16   upon the contractor maximum risk and full responsibility for all … resulting profit

17   or loss”); § 16.601(c)(2) (time and materials pricing includes “fixed hourly rates

18   that include wages, overhead, general and administrative expenses, and profit”).

19         B.     Background Relevant to the Government’s AKA Claims.

20         The government alleges that LMC paid kickbacks to LMC employees

21
22   v. United States, 779 F.3d 1346, 1352 (Fed. Cir. 2015) (explaining that supplies
23   sold through the GSA Schedule program are commercial).
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 1   “seconded” to MSA, but it does not allege that any payments to the seconded

 2   employees were under-the-table, provided by third parties, or outside the normal

 3   course of business.     Instead, the government asserts that LMC used its

 4   Management Incentive Compensation Program (“MICP”) to reward seconded

 5   employees for helping “to enhance LMSI and LMC’s bottom line through the

 6   LMSI subcontract to MSA.” Compl. ¶ 123. In its Motion Requesting Judicial

 7   Notice, ECF No. 36, LMC seeks judicial notice that: (1) from 2009–2016, LMC

 8   had a publicly disclosed MICP plan (the “Plan”); (2) a stated purpose of the Plan

 9   was to “[e]stablish performance goals within the meaning of Section 162(m) of the

10   Internal Revenue Code;” (3) the Plan states that it was open only to LMC

11   employees; and (4) the Plan provided a formula to determine MICP payments that

12   accounted for individual and organizational performance. The government does

13   not allege that the Plan violated applicable regulations or that LMC deviated from

14   the Plan terms in awarding the MICP payments at issue.

15         The Complaint does not define “secondment,” which typically involves one

16   company in a corporate family assigning an employee to an affiliated company

17   while continuing to maintain responsibility for the employee’s salary and benefits.

18   See, e.g., Presbyterian Church of Sudan v. Talisman Energy, Inc., 453 F. Supp. 2d

19   633, 649 (S.D.N.Y. 2006) (explaining that “secondment” refers to the assignment

20   of an employee to an affiliated company). As the government itself has noted

21   elsewhere, it is both common and beneficial for DOE prime contractors to use

22   “loaned” employees from their owners and affiliates.           See United States v.

23   Savannah River Nuclear Sols., LLC, No. 1:16-cv-00825-JMC, 2016 U.S. Dist.
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 1   LEXIS 168067, at *4 (D.S.C. Dec. 6, 2016) (citing the government’s complaint for

 2   the proposition that the use of loaned employees from a corporate parent is a

 3   permissible way for prime contractors to obtain “critical skills needed in the

 4   performance of the [] contract”).

 5           LMC seconded Frank Armijo to MSA twice: first to serve as MSA’s vice

 6   president for IR/CM, and later to serve as MSA’s president. Compl. ¶¶ 11-12.

 7   During his second secondment, the government alleges that Armijo retained his

 8   position as an LMC vice president for IT. Id. ¶ 11. LMC also seconded Rich

 9   Olsen to serve as MSA’s chief financial officer. Id. ¶ 12. The Complaint mentions

10   two other seconded employees—Todd Eckman and David Ruscitto—but does not

11   describe their job titles, responsibilities, actions, or the compensation they

12   received. Id. ¶ 123.

13           C.    Background Relevant to the Government’s FCA Claims. 4

14           The government appears to allege, with no supporting facts, that Defendants

15   misled DOE because at least some of LMSI’s services and all of its materials were

16   not on LMSI’s GSA Schedule. Id. ¶¶ 64, 75. It also asserts conclusory, shotgun

17   allegations that LMSI inflated the price of unspecified fixed unit rate and fixed

18   price tasks in the subcontract because LMSI’s internal estimates called for fewer

19
20   4
         MSA’s motion to dismiss explains why the government’s failure to plead the
21   essential elements of scienter and materiality is fatal to each of its FCA
22   claims. The Complaint also fails to state FCA claims based on two theories for the
23   additional reasons set forth in this motion.
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 1   employees than the estimate proposed to DOE, id. ¶¶ 96–98, MSA and LMSI

 2   double-billed DOE for union labor, id. ¶ 99, and LMSI billed for costs outside its

 3   work-scope, id. ¶ 100.

 4   III. LAW AND ARGUMENT

 5         A.     The Government Must Plead with Plausibility and Particularity

 6                Under Rules 8 and 9(b).

 7         A plaintiff asserting AKA and FCA claims must satisfy the pleading

 8   requirements of both Fed. R. Civ. P. 8 and 9(b). Cafasso v. Gen. Dynamics C4

 9   Sys., 637 F.3d 1047, 1054-55 (9th Cir. 2011) (FCA claims); United States v.

10   Peterson, No. CV-11-5137-EFS, 2012 U.S. Dist. LEXIS 11838, at *5 (E.D. Wash.

11   Feb. 1, 2012) (FCA and AKA claims). “To survive a motion to dismiss, the

12   complaint ‘must contain sufficient factual matter, accepted as true, to state a claim

13   to relief that is plausible on its face.’” Depot, Inc. v. Caring for Montanans, Inc.,

14   915 F.3d 643, 652 (9th Cir. 2019) (quoting Ashcroft v. Iqbal, 556 U.S. 662, 678

15   (2009)). Under Rule 8, a “claim has facial plausibility when the plaintiff pleads

16   factual content that allows the court to draw the reasonable inference that the

17   defendant is liable for the misconduct alleged.”         United States v. United

18   Healthcare Ins. Co., 848 F.3d 1161, 1179-80 (9th Cir. 2016) (quoting Iqbal, 556

19   U.S. at 678). To satisfy Rule 9(b), a plaintiff “must state with particularity the

20   circumstances constituting fraud” by alleging “the who, what, when, where, and

21   how of the misconduct charged, including what is false or misleading about a

22   statement, and why it is false.” Id. at 1180 (internal citations omitted). The Ninth

23   Circuit has explained that Rule 9(b) serves two policy goals: (1) to ensure that
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 1   defendants receive “notice of the particular misconduct … alleged … so that they

 2   can defend against the charge” and (2) “to deter the filing of complaints as a

 3   pretext for the discovery of unknown wrongs, to protect defendants from the harm

 4   that comes from being subject to fraud charges, and to prohibit plaintiffs from

 5   unilaterally imposing upon the court, the parties and society enormous social and

 6   economic costs absent some factual basis.” Id.

 7           B.    The Government Fails to State a Claim Under the AKA.

 8           The government’s AKA theory fails for numerous reasons.                     First, the

 9   Supreme Court has held that employee incentive compensation is not a kickback or

10   bribe because it does not involve a transaction with an independent third party.

11   Second, the AKA claim is inconsistent with the text, history, and purpose of the

12   AKA and with the intra-corporate conspiracy doctrine, which provides that

13   corporations cannot conspire with their own employees or affiliates.                        Third,

14   because the AKA is a criminal statute, the rule of lenity requires a narrow

15   construction to ensure that the public receives fair notice of conduct that may be

16   criminal. Finally, the government has not met the applicable pleading standard. 5

17                 1.    The Supreme Court has held that an employee’s incentive

18                       compensation is not a kickback.

19           The Supreme Court has considered and rejected the government’s theory

20   that an employee’s incentive compensation can constitute a “kickback.” Skilling,

21
22   5
         LMC and LMSI also adopt and incorporate Armijo’s arguments for dismissal of
23   the AKA claim.
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 1   561 U.S. at 413.      In Skilling, the government charged the defendant with

 2   committing criminal “honest services” wire fraud based on his participation in

 3   schemes to manipulate and misrepresent his employer’s financial results to

 4   increase the value of his bonuses and stock options. Id. at 369, 413. The Court

 5   held that the honest services fraud statute, 18 U.S.C. § 1346, applies only to bribes

 6   and kickbacks, and it drew support from a comprehensive review of relevant

 7   authorities, including the AKA. Id. at 409, 412-13 (incorporating the AKA’s

 8   definition of “kickback”).     Comparing the Skilling allegations to a “classic

 9   kickback scheme”—in which a public official “conspire[s] with a third party” to

10   receive a share of that third party’s profits—the Court held that, as a matter of law,

11   the government could not establish a § 1346 claim because the only payments at

12   issue were the defendant’s “salary[,] bonuses[,]” and stock options. Id. at 410, 413

13   (finding that “a reasonable limiting construction of § 1346 must exclude this

14   amorphous category of cases”) (citing McNally v. United States, 483 U.S. 350,

15   352-53 (1987)). The Court made clear that an individual must “solicit[] or accept[]

16   side payments from a third party” to engage in a kickback or bribe. Id. at 413; see

17   also United States v. Milovanovic, 678 F.3d 713, 721 (9th Cir. 2012) (recognizing

18   that Skilling’s “alleged misconduct entailed no bribe or kickback”).

19         The government’s AKA claim cannot survive under Skilling.                              The

20   Complaint does not allege that Armijo—or any other seconded employee—

21   solicited or accepted a side payment from a third party. To the contrary, here, as in

22   Skilling, there is no unaffiliated third party involved with the alleged kickbacks in

23   question. Compl. ¶¶ 11–12 (acknowledging that Armijo and Olsen were LMC
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 1   employees); ¶ 117 (describing MSA as “LMC’s affiliate”); ¶ 9 (describing LMSI

 2   as “a wholly owned subsidiary of LMC”). The government does not suggest that

 3   the purported kickback recipients were given any financial benefit beyond

 4   employee compensation. See id. ¶ 118 (alleging that LMC used its MICP to

 5   reward executives); ¶ 121 (identifying the alleged kickback to Armijo as “cash[,]

 6   … LMC stock[,] and other compensation [provided] through LMC’s MICP”).

 7   Because the Skilling Court already rejected the premise that the incentive

 8   compensation a company pays its executives can constitute a bribe or kickback, the

 9   government’s AKA claim must be dismissed.

10               2.      The AKA does not apply to intra-corporate transactions.

11         The AKA targets “commercial bribery,” which requires two independent,

12   unaffiliated parties to exchange value to become united in a common, anti-

13   competitive goal.    Nothing in the AKA’s text, legislative history, or prior

14   application suggests that it governs the conduct alleged here. To plead a viable

15   AKA claim, the government needed to allege that LMC and MSA were

16   independent entities with distinct economic interests. See United States ex rel.

17   Patzer v. Sikorsky Aircraft Corp., No. 11-C-0560, 2018 U.S. Dist. LEXIS 121604,

18   at *21-22 (E.D. Wis. July 20, 2018) (observing that the AKA requires that “each

19   party to the kickback transaction is acting independently”). It has done the exact

20   opposite. The government repeatedly contends that LMC, MSA, and LMSI were

21   affiliates acting in concert. Accepting this as true for purposes of this motion, as

22   Defendants and the Court must, this collaborative affiliate relationship renders the

23   alleged kickbacks legally impossible. See Doe v. Smith, 429 F.3d 706, 708 (7th
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 1   Cir. 2005) (“[L]itigants may plead themselves out of court by alleging facts that

 2   defeat recovery.”); see also Patzer, No. 11-C-0560, 2018 U.S. Dist. LEXIS

 3   121604, at *21-22 (dismissing as implausible an allegation of a kickback between

 4   affiliated prime and subcontractors).

 5                   a.    The AKA targets only anti-competitive conspiracies.

 6         The AKA defines a “kickback” as the attempted or actual solicitation or

 7   provision of something of value “to improperly obtain or reward favorable

 8   treatment in connection with a prime contract or a subcontract relating to a prime

 9   contract.” 41 U.S.C. § 8701(2); see also 41 U.S.C. § 8702 (prohibited conduct); §

10   8706 (civil actions); § 8707 (criminal penalties). Congress did not define the terms

11   “improperly” or “favorable treatment,” and courts have held that the absence of

12   statutory definitions and the general nature of these terms create ambiguity. See,

13   e.g., United States ex rel. Vavra v. Kellogg Brown & Root, Inc., 848 F.3d 366, 378

14   (5th Cir. 2017) (finding the definition of “kickback” to be ambiguous and applying

15   the rule of lenity); United States v. Burger, No. CR 99-0439 SI, 2000 U.S. Dist.

16   LEXIS 22066, at *15 (N.D. Cal. June 6, 2000) (same). Accordingly, courts have

17   frequently resorted to analyzing the AKA’s legislative history to discern

18   Congress’s intent. Id.; see also Milner v. Dep’t of the Navy, 562 U.S. 562, 572

19   (2011) (explaining that “clear evidence of congressional intent” in the legislative

20   history “may illuminate ambiguous text”).

21         The AKA’s legislative history makes clear that Congress intended to target

22   behavior that is (1) anti-competitive, and (2) conspiratorial. Congress’s aim was to

23   eliminate “commercial bribery” by prohibiting kickbacks, which “destroy
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 1   competition.” H.R. Rep. No. 99-964 at 4 (1986). The sponsor of the Senate bill

 2   that overhauled the AKA in 1986 explained that the gravamen of a kickback is the

 3   combination of two independent parties in a common course of anti-competitive

 4   conduct. See 132 Cong. Rec. S16307-01 (Statement of Sen. Levin) (explaining

 5   that an AKA violation requires proof of anti-competitive intent because “the

 6   Government must prove . . . that the reason one person provided something of

 7   value to another was to improperly influence a procurement decision”); see also

 8   H.R. Rep. No. 99-964 at 4 (1986) (noting that prosecutors often use “conspiracy

 9   statutes to prosecute persons involved in kickback schemes”); Skilling, 561 U.S. at

10   410 (describing a “classic kickback scheme” in which a procurement official

11   “conspired with a third party” to share commissions (emphasis added)).

12         The government cites the very legislative history that precludes its kickback

13   theory. The Complaint explains that the AKA targets anti-competitive conduct

14   (“commercial bribery”) and requires two independent parties. Compl. ¶ 17 (stating

15   the AKA applies when “contractors or their employees provide things of value to

16   other contractors or their employees in return for favorable treatment on

17   government contracts and subcontracts” (citing H.R. Rep. No. 99-964 at 5 (1986)

18   (emphasis added))). Though the AKA’s legislative history recounts numerous

19   examples of potential kickbacks from an extensive Senate investigation into

20   kickbacks in government contracting, it contains no indication that Congress

21   intended to reach employee compensation or intra-corporate transactions. See S.

22   Rep. No. 99-435 at 3-7 (1986) (discussing the Senate’s investigation); H.R. Rep.

23   No. 99-964 at 5-7 (1986) (discussing the Senate’s “massive investigation” and
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 1   testimony from the Department of Defense Office of Inspector General). Rather,

 2   Congress was focused on creating incentives for companies to monitor their

 3   employees to prevent secret kickbacks—not on policing companies’ internal

 4   compensation programs. See, e.g., S. Rep. No. 99-435 at 2 (1986) (noting that

 5   prime contractor employees “usually” accept kickbacks and provide favorable

 6   treatment “without informing or involving their employers”); at 14 (observing that

 7   “employees … who participate in kickback schemes usually hide their illegal

 8   activities from the prime contractor”).

 9                   b.     The intra-corporate conspiracy doctrine applies to the

10                          AKA.

11         The principle that corporations cannot conspire with their employees or

12   affiliates—known as the intra-corporate conspiracy doctrine—is widely accepted

13   and pre-dates the 1986 amendments to the AKA. The doctrine is based, in part, on

14   common law principles of agency.            Courts have explained that a conspiracy

15   between a corporation and its employees, or among employees of the same

16   corporation, is legally impossible because the acts of corporate employees “are

17   attributed to their principal,” precluding “an agreement between two or more

18   separate people.” Ziglar v. Abbasi, 137 S. Ct. 1843, 1867 (2017); see also S. Rep.

19   No. 99-435, at 15 (stating in the AKA’s legislative history that the “longstanding

20   doctrine of respondeat superior” should apply to hold “employers responsible for

21   the conduct of their employees”).

22         In addition to drawing from corporate agency, the intra-corporate conspiracy

23   doctrine has roots in antitrust law. In Copperweld Corp v. Independence Tube
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 1   Corp., the Court held that a parent and wholly-owned subsidiary could not

 2   conspire or combine in violation of § 1 of the Sherman Act because they always

 3   “share a common purpose whether or not the parent keeps a tight rein over the

 4   subsidiary.” 467 U.S. 752, 771 (1984) (noting that the idea of a conspiratorial

 5   agreement “between a parent and a wholly owned subsidiary lacks meaning”).

 6   Citing the statute’s prohibition against any “combination … or conspiracy in

 7   restraint of trade[,]” the Court explained that agreements between a parent and

 8   subsidiary did not constitute the “concerted activity” Congress intended to prevent

 9   because such agreements did not “deprive[] the marketplace of the independent

10   centers of decision-making that competition assumes and demands.” Id. at 768-69;

11   see also Freeman v. San Diego Ass’n of Realtors, 322 F.3d 1133, 1147 (9th Cir.

12   2003) (“Section 1, like the tango, requires multiplicity:          A company cannot

13   conspire with itself.” (citing Copperweld, 467 U.S. at 769)).

14         Congress had the benefit of Copperweld when it amended the AKA in 1986,

15   but it said nothing suggesting an intent to depart from the Court’s holding. Instead,

16   Congress cited with approval another Supreme Court decision treating companies

17   and their employees and affiliates as a single entity rather than as independent

18   actors. See S. Rep. No. 99-435, at 15 (1986) (applying the common law agency

19   principle of vicarious liability in the Sherman Act context to “encourage

20   supervision of agents to deter … misconduct”) (referencing Am. Soc’y of Mech.

21   Eng’rs v. Hydrolevel, 456 U.S. 556, 572 (1982)). In these circumstances, it would

22   be improper to infer that Congress intended the AKA to apply to intra-corporate

23   conduct because “[t]he normal rule of statutory construction is that if Congress
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 1   intends for legislation to change the interpretation of a judicially created concept, it

 2   makes that intent specific.” Midlantic Nat’l Bank v. N.J. Dep’t of Envtl. Prot., 474

 3   U.S. 494, 501 (1986).

 4           Courts within and outside this circuit have expressly applied the intra-

 5   corporate conspiracy doctrine to the FCA and many other statutes. See, e.g.,

 6   United States ex rel. Ruhe v. Masimo Corp., 929 F. Supp. 2d 1033, 1037-38 (C.D.

 7   Cal. 2012) (applying the intra-corporate conspiracy doctrine to the FCA because

 8   “the logic of the doctrine comes directly from the definition of a conspiracy”

 9   (internal quotation omitted)); United States ex rel. Fisher v. IASIS Healthcare LLC,

10   No. CV-15-00872-PHX-JJT, 2016 U.S. Dist. LEXIS 155517, at *56-57 (D. Ariz.

11   Nov. 9, 2016) (collecting FCA cases applying the intra-corporate conspiracy

12   doctrine); see also W. & S. Life Ins. Co. v. Countrywide Fin. Corp., No. 2:11-ML-

13   02265-MRP, 2012 U.S. Dist. LEXIS 184429, at *39-46 (C.D. Cal. June 29, 2012)

14   (reviewing the scope of the doctrine under the laws of various states and applying

15   it to preclude a civil conspiracy claim under Ohio law). 6 Although courts have not

16   yet applied the intra-corporate conspiracy doctrine by name in an AKA case, they

17   have applied the doctrine’s core principles. See, e.g., Morse Diesel Int’l v. United

18
19   6
         The fact that the Ninth Circuit has not applied the intra-corporate conspiracy
20   doctrine to criminal statutes is irrelevant when considering the application of the
21   doctrine to the parallel civil statute. See United States ex rel. Huey v. Summit
22   Healthcare Ass’n, No. CV-10-8003-PCT-FJM, 2011 U.S. Dist. LEXIS 26740, at
23   *20-21 (D. Ariz. Mar. 3, 2011).
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 1   States, 66 Fed. Cl. 788, 799 (2005) (holding that a 50/50 joint venture and one of

 2   the two non-majority parent corporations were a single “person” under the AKA).

 3                    c.    The intra-corporate conspiracy doctrine bars the

 4                          government’s AKA claim.

 5           The government’s AKA claim is precluded by the intra-corporate conspiracy

 6   doctrine and should be dismissed. A “kickback” requires that “each party to

 7   the kickback transaction is acting independently and could choose or could have

 8   chosen not to deal with the other.” Patzer, 2018 U.S. Dist. LEXIS 121604, at *21-

 9   22. In the kickback scheme the government has pled, the recipients of the alleged

10   kickback had no such choice; they were LMC employees receiving standard

11   compensation from LMC. The government’s theory is inconsistent with “[t]he

12   general rule … that employees cannot conspire with their employer” because the

13   necessary “plurality of actors” is missing. See Nat’l Flood Servs. v. Torrent

14   Techs., Inc., No. C05-1350Z, 2006 U.S. Dist. LEXIS 34196, at *16 (W.D. Wash.

15   May 26, 2006) (citing Copperweld, 467 U.S. at 769); see also Skilling, 561 U.S. at

16   413 (holding that a kickback requires a payment to an independent third party). 7

17

18   7
         The Complaint does not allege that Armijo or any other employees acted to
19   advance a financial interest separate from LMC’s. Thus, this case does not fall
20   within a narrow exception to the intra-corporate conspiracy doctrine, recognized by
21   some courts outside the Ninth Circuit, for employees with an “independent
22   personal stake” in the conspiracy. See, e.g., Hartman v. Bd. of Trustees, 4 F.3d
23   465, 470 (7th Cir. 1993). As the government itself has argued, “potential bonuses,
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 1         That the employees in question were seconded to MSA, a joint venture in

 2   which LMC was one of three owners, does not change the analysis. The Ninth

 3   Circuit has been clear that Copperweld extends to a host of corporate structures

 4   beyond a parent and wholly-owned subsidiary, including (1) “a company and its

 5   officers, employees and wholly owned subsidiaries,” (2) “subsidiaries controlled

 6   by a common parent,” (3) “firms owned by the same person,” (4) “a firm owned by

 7   a subset of the owners of another,” (5) principal-agent relationships,” and (6)

 8   “partnerships or other joint arrangements in which persons who would otherwise

 9   be competitors pool their capital and share the risks of loss as well as the

10   opportunities for profit.”   Freeman, 322 F.3d at 1147-48 (internal citations

11   omitted). The only court to consider the application of the AKA to a non-wholly-

12   owned subsidiary ruled that a 50/50 joint venture and one of the two non-majority

13   parent corporations were a single “person” under the AKA. Morse Diesel Int’l, 66

14   Fed. Cl. at 799.

15         The government has plainly pled that MSA, LMSI, and LMC were acting as

16
17   promotion, or continued employment” do not constitute an independent personal
18   stake, and the intra-corporate conspiracy doctrine applies even when an employee
19   may have acted outside the scope of his or her employment to pursue financial
20   bonuses or a promotion. See U-Haul Co. of Nev. v. United States, No. 2:08-CV-
21   729-KJD-RJJ, 2012 U.S. Dist. LEXIS 103261, at *6 (D. Nev. July 25, 2012)
22   (adopting the government’s argument to dismiss an alleged conspiracy between the
23   government and its employees).
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 1   a “single economic entity.” Freeman, 322 F.3d at 1147 (explaining that “[t]he

 2   theme … is economic unity” as indicated by “substantial common ownership” or

 3   “an agreement to divide profits and losses”). The Complaint repeatedly alleges

 4   that the three entities shared substantial common ownership, that they were

 5   “affiliates,” and that LMC controlled or had the ability to control MSA and LMSI.

 6   See Compl. ¶¶ 9, 42, 117, 124 (describing MSA and LMC as affiliates); see also

 7   48 C.F.R. § 2.1 (under the FAR, an “affiliate” is any “associated business concerns

 8   or individuals if, directly or indirectly (1) [e]ither one controls or can control the

 9   other; or (2) [a] third party controls or can control both”). The government also

10   alleges that MSA, LMSI, and LMC had “an agreement to divide profits and

11   losses,” and that LMC’s ability to earn profit through both MSA’s prime contract

12   and LMSI’s subcontract led to the alleged FCA violations. See Compl. ¶ 37

13   (alleging the applicability of Clause B.11 prohibiting “the contractor from charging

14   to DOE any additional profit through any subcontracts to any affiliate companies

15   of the contractor except under narrow excepted circumstances”); ¶ 49 (alleging

16   “DOE’s Contracting Officer” stated “he would not permit any additional profit to

17   LMSI or LMC on any such subcontract, because LMC was already earning profit

18   on this work through its part ownership of MSA”); ¶ 88 (alleging “LMC, MSA,

19   LMSI, Olsen, and Armijo” understood it was “necessary to have DOE consent to

20   the subcontract as proposed before any of [LMSI’s] profit could be realized by

21   LMC”). Accordingly, the AKA claim cannot stand. See Freeman, 322 F.3d at

22   1147 (holding that members of a “single economic entity” “are incapable of

23   conspiring with one another”).
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 1                3.     The rule of lenity requires narrow construction of the AKA.

 2         Even if the government’s AKA claim could survive the Skilling and affiliate

 3   hurdles, the rule of lenity would preclude liability. The AKA is both a civil and

 4   criminal statute. “The rule of lenity ensures that criminal statutes will provide fair

 5   warning concerning conduct rendered illegal and strikes the appropriate balance

 6   between the legislature, the prosecutor, and the court in defining criminal liability.”

 7   Liparota v. United States, 471 U.S. 419, 427 (1985). Civil AKA claims are subject

 8   to the rule of lenity “[b]ecause [a court] must interpret the statute consistently,

 9   whether [a court] encounter[s] its application in a criminal or noncriminal

10   context[.]” Leocal v. Ashcroft, 543 U.S. 1, 11 n.8 (2004); see also United States ex

11   rel. Vavra v. Kellogg Brown & Root, Inc., 727 F.3d 343, 348 (5th Cir. 2013)

12   (applying the rule of lenity to civil AKA claims). The rule of lenity applies if, after

13   considering the AKA’s “text, structure, history, and purpose, there remains a

14   grievous ambiguity or uncertainty in the statute such that the Court must simply

15   guess as to what Congress intended.” Barber v. Thomas, 560 U.S. 474, 488

16   (2010), abrogated on other grounds by Section 102(b)(1) of the First Step Act of

17   2018, Public Law No. 115-391 (internal quotations and citations omitted).

18   “[W]hen there are two rational readings of a criminal statute, one harsher than the

19   other, [courts] are to choose the harsher only when Congress has spoken in clear

20   and definite language.” McNally, 483 U.S. at 359-60 (collecting cases applying

21   the rule of lenity to narrow criminal statutes); see also McDonnell v. United States,

22   136 S. Ct. 2355, 2372-73 (2016) (“[W]e cannot construe a criminal statute on the

23   assumption that the government will ‘use it responsibly.’” (quoting United States v.
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 1   Stevens, 559 U.S. 460, 480 (2010)).

 2         The rule of lenity forecloses the government’s broad construction of the

 3   AKA because multiple courts have found the statute—and, in particular, the

 4   relevant language in the definition of “kickback”—to be ambiguous. In Vavra, the

 5   Fifth Circuit pointed to Congress’s failure to define the two critical terms in the

 6   statutory definition—“improperly” and “favorable treatment.” 848 F.3d at 378.

 7   The court rejected the government’s interpretation that “improperly” means

 8   “anything not ‘innocent’ or ‘incidental’” because that construction would not

 9   provide “reasonable notice to those in the government-contracting arena as to when

10   their acts are innocent and when they are not.” Id.

11         The Northern District of California has likewise applied the rule of lenity to

12   limit “improper[]” conduct under the AKA.         Burger, 2000 U.S. Dist. LEXIS

13   22066, at *15 (rejecting as “circular reasoning” “the government’s argument that

14   [the] defendant’s actions were improper because they constituted a kickback”). In

15   Burger, the defendant operated a property management company that agreed to

16   split the management fees it earned from the Department of Housing and Urban

17   Development (“HUD”) with property owners in exchange for the right to serve as

18   the managing agent. Id. at *2-4. Even though this exchange had many hallmarks

19   of a kickback scheme—including two unaffiliated parties exchanging value—and

20   the Office of Inspector General for HUD had publicly opined that the practice in

21   question was “essentially a kickback scheme,” the court applied the rule of lenity

22   because HUD had not taken steps to issue a directive specifically prohibiting the

23   fee-splitting, and the “defendant would have been unable to determine that the
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 1   conduct at issue was ‘improper’ under the [AKA].” Id. at *17-20.

 2          The potential harm resulting from the government’s broad construction of

 3   the AKA here is far greater than in Vavra and Burger, where the alleged conduct

 4   was much more consistent with a typical kickback. See Vavra, 727 F.3d at 345

 5   (explaining that the defendant’s subcontract manager had accepted benefits from

 6   an unaffiliated subcontractor on at least “ninety-three occasions” and citing

 7   benefits ranging from “meals, drinks, golf outings, tickets to rodeo events, baseball

 8   games, football games, and other gifts and entertainment”); Burger, 2000 U.S.

 9   Dist. LEXIS 22066, at *5 (noting undisclosed fee-splitting between unaffiliated

10   entities).   In this case, the government is pursuing a novel theory involving

11   employee incentive compensation—an arrangement that the Supreme Court has

12   expressly held is not a kickback or a bribe. Skilling, 561 U.S. at 413.

13          The breadth and future implications of the government’s theory also counsel

14   in favor of lenity.   The government could apply its AKA theory not just to

15   compensation to seconded employees, but to any compensation a company paid to

16   any employees who engaged in conduct that the government deemed improper and

17   resulted in “favorable treatment” for the company in connection with a government

18   prime contract or subcontract. When faced with a similar situation involving a

19   potentially broad statute—the Computer Fraud and Abuse Act, 18 U.S.C. § 1030—

20   the Ninth Circuit invoked the rule of lenity to adopt a narrow construction and

21   avoid making potential “criminals of large groups of people who would have little

22   reason to suspect they are committing a federal crime.” United States v. Nosal,

23   676 F.3d 854, 857-59 (9th Cir. 2012). The same approach is necessary here.
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 1               4.        The government’s AKA claims fail under Rules 8 and 9(b).

 2         Even if it were legally possible for LMC to pay its own employees a

 3   kickback, the government has not alleged particular facts to support a plausible

 4   AKA claim.       The government’s allegations highlight that there was nothing

 5   improper about the MICP payments and that there was no link between the

 6   payments and the alleged favorable treatment. The Complaint also fails to satisfy

 7   Rule 9(b) because it does not plead the AKA claim with the requisite particularity.

 8                    a.     The government’s AKA claim is implausible.

 9         The government fails to establish a reasonable inference that LMC’s MICP

10   payments were improper or that the payments were linked to any favorable

11   treatment. See Vavra, 848 F.3d at 378 (The AKA “requires a link between the

12   kickback and some benefit being sought or already received.”); see also 132 Cong.

13   Rec. S16307-01 (Statement of Sen. Levin) (The AKA requires proof of intent “to

14   improperly influence a procurement decision.”). The Complaint does not hint at

15   who from LMC might have proposed or agreed to the kickback scheme. It is silent

16   as to who at LMC determined the MICP award and how the amount was

17   calculated. The Complaint merely offers the conclusory assertion that the MICP

18   payments “were kickbacks because they were payments by LMC and LMSI to

19   employees of MSA, a prime contractor, in return for improperly providing LMC

20   and LMSI with favorable treatment relative to the MSA-LMSI subcontract and

21   MSA’s contract with DOE.”         Compl. ¶ 123.         Simply calling a transaction a

22   kickback does not make it one. See Burger, 2000 U.S. Dist. LEXIS 22066, at *13-

23   14; see also Iqbal, 556 U.S. at 678 (“A pleading that offers labels and conclusions
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 1   or a formulaic recitation of the elements of a cause of action will not do.” (internal

 2   quotation omitted)). Here, the facts the government alleges and the absence of

 3   allegations about how LMC awarded MICP compensation doom its AKA claim.

 4         First, the government’s allegation that Defendants worked together to

 5   maximize LMC profits years before the MICP payments in question negates any

 6   reasonable inference of a kickback. In the only other case to consider an alleged

 7   intra-corporate kickback, the court dismissed the government’s AKA claim

 8   because the factual allegations contradicted the government’s theory that the

 9   favorable treatment at issue—also profit on an affiliate subcontract—resulted from

10   the alleged kickback. See Patzer, 2018 U.S. Dist. LEXIS 121604, at *22-23. In

11   Patzer, the government alleged that a subcontractor provided a kickback to an

12   affiliated prime contractor by agreeing to accept responsibility for certain

13   employee compensation in exchange for a favorable deal on the subcontract. Id. at

14   *7-10. The court dismissed the AKA claim under Rule 8 because the government

15   alleged that, as part of a business strategy to increase profits, the common

16   corporate parent decided to use an affiliated subcontractor before the alleged

17   kickback occurred. Id. at *22-23 (explaining that “it is simply implausible to think

18   that [the prime contractor] could have used anyone other than [the affiliated]

19   subcontractor” because doing so would have eliminated the opportunity for the

20   corporate family to earn profits at both the prime and subcontract levels).

21         The government’s allegations here have the same fatal flaw—the

22   government alleges that LMC intended to seek profit on the LMSI subcontract well

23   before the MICP payments at issue began in 2009. See, e.g., Compl. ¶¶ 41–42, 44
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 1   (alleging LMC was pursuing a strategy to profit on an affiliate subcontract in May

 2   2007); ¶ 123 (alleging kickbacks began in 2009). The only reasonable inference is

 3   that any effort to obtain profit on the subcontract resulted from the alleged pre-

 4   determined corporate strategy and not from subsequent MICP payments. Accord

 5   Iqbal, 556 U.S. at 682 (Rule 8 requires sufficient facts to overcome any “obvious

 6   alternative explanation.”). The government also does not help its cause by alleging

 7   that LMC employees began taking actions on MSA’s behalf to benefit LMC in

 8   2008, before the MICP payments began, id. ¶ 47, and that MSA employees who

 9   did not receive MICP payments also took actions benefitting LMC. Id. ¶¶ 71–72,

10   77, 102–03. The government has “plead[ed] [itself] out of court by alleging facts

11   that defeat recovery.” Doe, 429 F.3d at 708.

12         Second, the government’s AKA claim also fails because it does not allege

13   facts supporting a reasonable inference that LMC’s MICP payments were

14   improper. Accord Vavra, 848 F.3d at 379 (ordinary meaning of “improper” is “not

15   in accord with … right procedure” (quoting Merriam-Webster’s Collegiate

16   Dictionary 626 (11th ed. 2003)); Burger, 2000 U.S. Dist. LEXIS 22066, at *15

17   (citing the legislative history’s explanation that Congress included “‘improperly’

18   … to ensure that exchange[s] made … for other permissible purposes, such as

19   innocent or incidental favors, are not included under the definition of ‘kickback’”

20   and that the legislative history “explicitly leaves open the possibility of other

21   permissible purposes”). Nothing in the Complaint plausibly contends that LMC

22   deviated from its publicly available MICP Plan, which is an objective, standardized

23   method of compensating executives across LMC’s various businesses. See LMC’s
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 1   Motion Requesting Judicial Notice, ECF No. 36, at 5-6; United States ex rel. Bly-

 2   Magee v. Premo, 333 F. App’x 169, 170 (9th Cir. 2009) (holding that a company

 3   does not violate the AKA merely by providing incentives consistent with an

 4   established “regulatory regime”). Accordingly, the AKA claim must be dismissed

 5   because the government has not alleged any facts to overcome the “obvious

 6   alternative explanation” for the MICP payments. Iqbal, 556 U.S. at 682.

 7                   b.     The AKA allegations do not satisfy Rule 9(b).

 8         The government does not adequately describe the “particular misconduct” to

 9   enable Defendants to respond and the Court and the parties to fashion manageable

10   limits on discovery. See United Healthcare Ins. Co., 848 F.3d at 1179-80; Uchytil

11   v. Avande, Inc., No. C12-2091-JCC, 2018 U.S. Dist. LEXIS 31737, at *5 (W.D.

12   Wash. Feb. 27, 2018) (explaining enforcement of Rule 9(b) is necessary to ensure

13   claims have “discernable boundaries and manageable discovery limits” (internal

14   quotation omitted)). Specifically, the Complaint is devoid of the necessary “who,

15   what, when, where, and how of the misconduct charged” and the required

16   explanation of why that conduct is a kickback. See United Healthcare Ins. Co.,

17   848 F.3d at 1180 (internal citations omitted).

18         The Complaint does not identify which MICP payments are at issue. Some

19   allegations suggest that all MICP compensation to all MSA-seconded LMC

20   employees between 2009 and 2015 constituted kickbacks, e.g., Compl. ¶ 118

21   (alleging payments to “high-ranking MSA employees”), while other allegations

22   suggest the AKA claim is limited to MICP payments to Olsen, Armijo, Eckman,

23   and Ruscitto, id. ¶ 123. Rule 9(b) requires that the Complaint provide sufficient
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 1   information for Defendants and the Court to determine the relevant employees and

 2   years. See United States ex rel. Dooley v. Metic Transplantation Lab. Inc., No. CV

 3   13-07039 SJO, 2016 U.S. Dist. LEXIS 192400, at *10 (C.D. Cal. June 6, 2016)

 4   (holding that Rule 9(b) requires factual allegations regarding the “material aspects”

 5   of a kickback scheme, including “the duration of such an arrangement” and “the

 6   individuals … who participated”).

 7         To the extent the government provides any detail at all on why it believes

 8   that MICP payments amounted to kickbacks, it is limited to Armijo’s and Olsen’s

 9   2011 awards.     Compl. ¶¶ 120, 122.      The Complaint offers nothing on why

10   payments before or after DOE’s conditional consent could be a kickback and says

11   nothing about how the government believes Eckman, Ruscitto, or other unnamed

12   seconded employees “improperly provid[ed] LMC and LMSI with favorable

13   treatment.” Id. ¶ 123. The government cannot allege that MICP payments to

14   Armijo and Olsen before or after 2011 are kickbacks without explaining how those

15   payments violate the AKA. See United States ex rel. Colquitt v. Abbott Labs., 858

16   F.3d 365, 372 (5th Cir. 2017) (affirming dismissal of a complaint alleging a

17   violation of the Anti-Kickback Statute (“AKS”), 42 U.S.C. § 1320a-7b, which

18   prohibits payments “in return for” or “to induce” healthcare referrals, because it

19   “never links the alleged carrots to” the specific favorable treatment). Likewise, the

20   government may not claim that other secondees took steps to favor LMC or LMSI

21   without saying who took those steps, what they did, and how those actions were

22   linked to MICP payments. See id.; United States ex rel. Nunnally v. W. Calcasieu

23   Cameron Hosp., 519 F. App’x 890, 894 (5th Cir. 2013) (affirming dismissal of an
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 1   AKS complaint because it “does not specify who in particular was involved” or

 2   explain “how [the conduct at issue] constituted an illegal kickback”).                      The

 3   government has failed to provide adequate detail for any of the alleged kickbacks,

 4   but it has provided no detail at all for alleged kickbacks aside from Armijo’s and

 5   Olsen’s 2011 MICP awards. The government’s entire AKA claim should be

 6   dismissed, but failing that, the Court should, at a minimum, limit the AKA claim to

 7   MICP payments to Armijo and Olsen in 2011.

 8         C.    The Government Fails to Plead FCA Theories with Particularity.

 9         LMC and LMSI join and adopt MSA’s motion to dismiss all FCA claims.

10   As explained here, two of the government’s FCA theories fail for the additional

11   reason that the Complaint lacks necessary details supporting the government’s

12   allegations that some (unspecified) LMSI services and materials were not

13   commercial and that LMSI inflated the cost of some (unspecified) tasks. For FCA

14   claims, Rule 9(b) requires the plaintiff to allege with particularity: “(1) a false

15   statement or fraudulent course of action (falsity element), (2) that is material

16   (materiality element), and (3) made with knowledge of that falsity (scienter

17   element), that causes (4) the government to pay out money.” See United States ex

18   rel. Voss v. Monaco Enters., No. 2:12-CV-0046-LRS, 2016 U.S. Dist. LEXIS

19   86254, at *14-15 (E.D. Wash. July 1, 2016) (citing United States ex rel. Lee v.

20   Corinthian Colls., 655 F.3d 984, 992 (9th Cir. 2011)).

21               1.     The GSA Schedule allegations do not satisfy Rule 9(b).

22         The government fails to provide any detail supporting its bare allegation that

23   Defendants misrepresented the commerciality of LMSI’s services and materials.
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 1   See, e.g., Compl. ¶ 75 (“[C]ontrary to the representation that all proposed services

 2   and items were commercially available, many of the labor categories and all of the

 3   materials set forth in the LMSI proposal were not even contained in the LMSI

 4   GSA Schedule.”). The Complaint does not specify which or how many services

 5   were not on LMSI’s GSA Schedule. Compare id. ¶ 64 (questioning “some of the

 6   LMSI labor categories”) with ¶ 75 (questioning “many of the labor categories”)

 7   (emphasis added in both). Without this critical information, it is impossible to

 8   determine which of the numerous labor categories covered by the subcontract are

 9   at issue, and, by extension, which of the various task orders included such services.

10   See Bly-Magee v. California, 236 F.3d 1014, 1018-19 (9th Cir. 2001) (Rule 9(b)

11   requires “particularized supporting detail … specific enough to give defendants

12   notice of the particular misconduct which is alleged.” (internal quotation omitted)).

13         Because of these pleading deficiencies, it is also unclear whether the

14   government intends to argue that LMSI misrepresented that “some” unspecified

15   services and materials were on LMSI’s GSA Schedule when they were not, or

16   whether it believes that these services and materials were not commercial at all.

17   Either way, the Complaint lacks the factual predicate necessary to establish that the

18   alleged misrepresentations were material to DOE’s decision-making. See Voss,

19   2016 U.S. Dist. LEXIS 86254, at *17 (“[T]he U.S. Supreme Court has reinforced

20   the necessity of pleading facts to support allegations of materiality under Rule

21   9(b).”) (citing Universal Health Servs. v. United States ex rel. Escobar, 136 S. Ct.

22   1989 (2016)). If the government’s allegations relate to the GSA Schedule, then it

23   needed to plead facts to establish how something so “minor or insubstantial” could
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 1   be material.        Accord Universal Health Servs, 136 S. Ct. at 2003 (“minor or

 2   insubstantial” non-compliances are not material).          On the other hand, if the

 3   government disputes the commerciality of the unspecified services and materials as

 4   a general matter, it has failed to plead any underlying facts to support such a claim

 5   because presence on a GSA Schedule is not required for goods and services to

 6   qualify as commercial under the FAR. See 48 C.F.R. § 2.1 (providing that items

 7   “customarily used by the general public” and services “sold competitively in

 8   substantial quantities in the commercial marketplace” are commercial). And, as

 9   the Complaint repeatedly acknowledges, Defendants were clear that LMSI’s

10   services were commercial. See, e.g., Compl. ¶¶ 64, 111.

11                  2.      The government’s allegations about the inflation of fixed

12                          price and fixed unit rate tasks do not satisfy Rule 9(b).

13         The Complaint contains a conclusory assertion that LMSI inflated some

14   fixed unit rates and fixed prices but provides scant detail about how these alleged

15   “schemes” worked. The government complains that LMSI inflated the cost of

16   unspecified rates and prices by using “knowingly inflated FTE [Full-Time

17   Equivalent employee] estimates [] to build up the LMSI fixed unit rates proposed

18   to be charged to DOE.” Compl. ¶ 96. The gist of this allegation appears to be that

19   LMSI’s internal budgets estimated a lower number of FTEs than LMSI proposed.

20   Id. ¶¶ 96-98. But the Complaint does not say what (if anything) any Defendant

21   represented to DOE about the budgets or how LMSI (or any other Defendant)

22   knew that the proposed FTE estimates were false.

23         The government’s use of the word “estimates” underscores a fundamental
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 1   flaw in its allegations. “‘Estimate’ is a term that, by its very nature, connotes

 2   inexactness.” Mowat Constr. Co. v. Dorena Hydro, Ltd. Liab. Co., No. 6:14-cv-

 3   00094-AA, 2015 U.S. Dist. LEXIS 128058, at *19-20 (D. Or. Sep. 23, 2015); see

 4   also Nev. Rest. Servs., Inc. v. Clark Cnty., 981 F. Supp. 2d 947, 957 (D. Nev.

 5   2013) (“Merriam-Webster defines ‘estimate’      as     ‘a   rough         or     approximate

 6   calculation.’”). The existence of two different “estimates,” even if true, does not

 7   establish that either figure is unreasonable—only that LMSI came up with two

 8   approximations. Accord United States v. Omnicare, Inc., 903 F.3d 78, 92 (3d Cir.

 9   2018) (“[A]n inference of illegality based on facts that could plausibly have either

10   a legal or illegal explanation would be insufficient to meet Rule 9(b)’s burden[.]”).

11   Courts dismiss allegations of fraudulent estimates when complaints merely provide

12   conclusory allegations of fraud paired with “little detail about how the fraud was

13   carried out.” Compare United States ex rel. Berg v. Honeywell Int’l, Inc., No.

14   3:07-cv-00215, 2013 U.S. Dist. LEXIS 89197, at *18 (D. Alaska June 24, 2013),

15   aff’d in rel. part, 580 F. App’x 559 (9th Cir. 2014) (“Setting forth which numbers

16   and measurements were wrong and simply using adjectives like ‘knowingly’ or

17   ‘deliberately’ to describe those numbers and measurements does not satisfy the

18   heightened pleading standard of Rule 9(b).”) with Compl. ¶ 96 (alleging LMSI’s

19   network services fixed unit rate was “grossly inflated” because LMSI “knowingly

20   used false and inflated FTE estimates”).

21         The government’s allegations of double-billing for unspecified union labor,

22   contained in a single paragraph of the Complaint, are even more skeletal. Compl.

23   ¶ 99. The Complaint does not identify what representations (if any) Defendants
                                                                        LANE POWELL PC
                                                                 1420 FIFTH AVENUE, SUITE 4200
     MOTION TO DISMISS - 31                                               P.O. BOX 91302
                                                                    SEATTLE, WA 98111-9402
                                                                  206.223.7000 FAX: 206.223.7107
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 1   made about the inclusion of union labor in the fixed prices/rates or how those

 2   representations were material. Although the government asserts that both LMSI

 3   and MSA billed for union labor, it does not allege any facts indicating that LMSI

 4   was aware of MSA’s billing practices (or vice versa), which also compels

 5   dismissal. Lee, 655 F.3d at 996-97 (Rule 9(b) requires “sufficient facts to support

 6   an inference or render plausible” that the defendant acted “knowingly” because the

 7   FCA does not punish “innocent mistakes.” (quotation omitted)).

 8         Finally, the government’s allegations that LMSI included costs outside its

 9   scope of work are also defective.       This entire theory is limited to a single

10   paragraph, and the only information provided is that LMSI allegedly inflated prices

11   or rates by “improperly including costs for site services that were not even

12   included in the IR/CM statement of work that LMSI was designated to perform, as

13   well as for site services that were not even provided by LMSI but rather a separate

14   prime contractor.” Compl. ¶ 100. The government does not say which fixed prices

15   or rates included these alleged costs, what costs were allegedly outside LMSI’s

16   scope of work, or which services another contractor provided. It also fails to

17   identify what representations (if any) LMSI made about these issues or how any

18   alleged misrepresentation is connected to a claim for payment. See Bly-Magee v.

19   Lungren, 214 F. App’x 642, 644 (9th Cir. 2006) (“[S]weeping allegations that lack

20   detail” do not satisfy Rule 9(b).).

21   IV. CONCLUSION

22         For the foregoing reasons, LMC and LMSI respectfully request dismissal of

23   the government’s FCA claims (Counts I and II) and AKA claim (Count III).
                                                                       LANE POWELL PC
                                                                1420 FIFTH AVENUE, SUITE 4200
     MOTION TO DISMISS - 32                                              P.O. BOX 91302
                                                                   SEATTLE, WA 98111-9402
                                                                 206.223.7000 FAX: 206.223.7107
 Case 4:19-cv-05021-RMP   ECF No. 37   filed 04/23/19   PageID.223 Page 42 of 43




 1       DATED this 23rd day of April, 2019.

 2
                                       Respectfully submitted,
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                                       LANE POWELL PC
 4
                                       By      s/Harold Malkin
 5
                                       Harold Malkin, WSBA No. 30986
 6                                     1420 Fifth Avenue, Suite 4200
                                       P.O. Box 91302
 7                                     Seattle, WA 98111-9402
                                       Email: malkinh@lanepowell.com
 8                                     Telephone: 206.223.7000
                                       Facsimile: 206.223.7107
 9
10                                     DINSMORE & SHOHL

11                                     By     s/Michael J. Bronson
                                       Michael J. Bronson, Admitted Pro Hac
12                                     Vice
13                                     255 East Fifth Street, Suite 1900
                                       Cincinnati, OH 45202
14                                     Email: Michael.bronson@dinsmore.com
                                       Telephone: 513.977.8654
15
                                       Attorneys for Defendants Lockheed Martin
16                                     Services, Inc., and Lockheed Martin
                                       Corporation
17

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21
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23
                                                                  LANE POWELL PC
                                                           1420 FIFTH AVENUE, SUITE 4200
     MOTION TO DISMISS - 33                                         P.O. BOX 91302
                                                              SEATTLE, WA 98111-9402
                                                            206.223.7000 FAX: 206.223.7107
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 1                           CERTIFICATE OF SERVICE

 2         I certify that on the date listed below, I electronically filed the foregoing
     with the Clerk of the Court using the CM/ECF System, which in turn
 3
     automatically generated a Notice of Electronic Filing (NEF) to all parties in the
 4
     case who are registered users of the CM/ECF system.                The NEF for the
 5
     foregoing specifically identifies recipients of electronic notice.
 6
           Executed this 23rd day of April, 2019, at Seattle, Washington.
 7
 8
                                       s/Patti Lane
 9                                    Patti Lane, Legal Assistant

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                                                                        LANE POWELL PC
                                                                 1420 FIFTH AVENUE, SUITE 4200
                                                                          P.O. BOX 91302
                                                                    SEATTLE, WA 98111-9402
                                                                  206.223.7000 FAX: 206.223.7107
